         Case 1:19-cv-09872-LAK-SN Document 26 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     10/15/2020


BONNIE LATIMORE,

                                            Plaintiff,                19-CV-09872 (LAK)(SN)

                          -against-                                            ORDER

C R BARD INCORPORATED et al.,

                                            Defendants.

-----------------------------------------------------------------X

-----------------------------------------------------------------X

MICHAEL KAR,

                                            Plaintiff,                19-CV-09876 (LAK)(SN)

                          -against-                                            ORDER

C R BARD INCORPORATED et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        In light of the close of fact discovery in these two cases on October 13, 2020, the parties

are directed to meet and confer to discuss whether a settlement conference would be productive

at this time. If so, the parties shall contact Courtroom Deputy Rachel Slusher at

rachel_slusher@nysd.uscourts.gov. All other dates set forth in the June 16, 2020 Order remain.

SO ORDERED.



DATED:           New York, New York
                 October 15, 2020
